              Case 22-2993, Document 52, 03/24/2023, 3489320, Page1 of 1




                          UNITED STATES COURT OF APPEALS
                                         for the
                                   SECOND CIRCUIT
                      ____________________________________________

         At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
the 24th day of March, two thousand twenty-three,

____________________________________

Lexington Furniture Industries, Inc., DBA Lexington              ORDER
Home Brands,                                                     Docket No: 22-2993

lllllllllllllllllllllPlaintiff -Counter-Defendant-Appellee,

v.

The Lexington Company, AB, DBA The Lexington
Clothing Company,

lllllllllllllllllllllDefendant-Counter-Claimant-Appellant.
_______________________________________

      Counsel for APPELLEE has filed a scheduling notification pursuant to the Court's Local
Rule 31.2, setting April 28, 2023 as the brief filing date.

        It is HEREBY ORDERED that Appellee's brief must be filed on or before April 28,
2023. If the brief is not filed by that date, the appeal will proceed to a merits panel for
determination forthwith, and Appellee will be required to file a motion for permission to file a
brief and appear at oral argument. A motion to extend the time to file the brief or to seek other
relief will not toll the filing date. See Local Rule 27.1(f)(1); cf. RLI Insurance Co. v. JDJ Marine,
Inc., 716 F.3d 41, 43-45 (2d Cir. 2013).


                                                          For The Court:
                                                          Catherine O'Hagan Wolfe,
                                                          Clerk of Court
